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Illinois Anti-Predatory |
Lending Database

Program WW

Certificate of Exemption
Doc#: 1532145039 Fee: $52.00
RHSP Fee:$9.00 RPAF Fee: $1.06
Karen A. Yarbrough

Cock County Recorder of Deeds

Date: 11/17/2015 12:07 PM Pg: 1 of 8

Report Mortgage Fraud
800-532-8785
‘The property identified as: —=——=SPIN:. 20-25-119-001-0000.
Address:
Street: 7201 S. Constance Avenue
Street line 2:
City: Chicago State: IL ZIP Code: 60649

Lender, EquityBuild Finance, LLC

Borrower: EquityBuild, Inc.

Loan / Mortgage Amount: $2,250,000.00

This property is located within the program area and is exempt from the requirements of 765 ILCS 77/70 et seq. because
itis not owner-occupied.

Certificate number: D441B8C0-5BA7-40FC-9C31-42479A20DEA8 Execution date: 7/22/2015

 

 

 

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MailTo: , .
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Diane : “Te CTF
[The Above Space For Recorder's Use Only]
MORTGAGE

THIS MORTGAGE ("Security Instrument") is given on July 22°47 2015. The mortgagor is
EquityBuilk, inc. ("Borrower").

This Security Instrument is given to The Persons Listed on Exhibit A to the Mortgage C/O
EquityBuild Finance, LLC whose address is 5068 West Plano Pkwy. #300 Plano, TX 75093
("Lender").

 

Borrower owes Lender the principal sum of Two Miilion Two Hundred Fifty Thousand and 00/100
Dollars (U.S. $2,250,000.00). This debt is evidenced by Borrower's note dated the same date as this
Security Instrument (Mortgage), which provides for a final payment of the full debt, if not paid earlier,
due and payable August 1*, 2017. This Security Instrument secures to Lender:

(a) the repayment of the debt evidenced by the Note, with interest, and all renewals, extension and
modifications; (b) the payment of all other sums, with interest advanced under paragraph 7 to protect
the security of this Security Instrument; and (c) the performance of Borrower's covenants and
agreements under this Security Instrument and the Note. For this purpose, Borrower does hereby

mortgage, grant and convey to Lender the following described property located in COOK County,
linois:

PIN: 20-25-1 19-001 -0000

which has the address of 7201 S Constance Ave. Chicago, IL 60649 ("Property Address");

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, rights, appurtenances, rents, royalties, mineral, oi! and gas rights and profits, water rights
and stock and ail fixtures now or hereafter a part of the property. All replacements and additions shall

also be covered by this Security Instrument. All of the foregoing is referred to in this Security
Instrument as the "Property."
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BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed
and has the right to mortgage, grant and convey the Property and that the Property is
unencumbered, except for encumbrances of record. Borrower warrants and will defend generally the
title to the Property against all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-
uniform covenants with limited variations by jurisdiction to constitute a uniform security instrument
covering real property.

UNIFORM COVENANT. Borrower and Lender covenant and agree as follows:

1. Payment of Principal and Interest; Prepayment and Late Charges. Borrower shall promptly
pay when due the principal of and interest on the debt evidenced by the Note and any prepayment
and late charges due under the Note.

2. Hazard insurance. Borrower shall keep the improvements now existing or hereafter erected
on the Property insured against loss by fire, hazards included within the term "extended coverage"
and any other hazards for which Lender requires insurance. This insurance shall be maintained in the
amounts and for the periods that Lender requires. The insurance carrier providing the insurance shall
be chosen by Borrower subject to Lender's approval which shall not be unreasonably withheld.

All insurance policies and renewals shall be acceptable to Lender and shail include a standard
mortgage clause. Lender shall have the right to hold the policies and renewals. If Lender requires,
Borrower shall promptly give to Lender al! receipts of paid premiums and renewai notices. in the
event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower.

Unless Lender and Borrower otherwise agree in writing, insurance proceeds shall be applied
to restoration and repair of the Property damaged, if the restoration or repair is economically feasible
and Lender's security is not lessened. if the restoration or repair is not economically feasible or
Lender's security would be lessened, the insurance proceeds shall be applied to the sums secured
by this Security Instrument, whether or not then due, with any excess paid to Borrower. If Borrower
abandons the Property, or does not answer within 30 days a notice from Lender that the insurance
carrier has offered to settle a claim, then Lender may collect the insurance proceeds. Lender may
use the proceeds to repair or restore the Property or to pay sums secured by this Security
Instrument, whether or not then due. The 30-day period will begin when the notice is given.

Unless Lender and Borrower otherwise agree in writing, any application of proceeds to
principal shal! not extend or postpone the due date of the monthly payments referred to in
paragraphs 1 and 2 or change the amount of the payments. If under paragraph 19 the property is
acquired by Lender, Borrower's rights to any insurance policies and proceeds resulting from damage
to the Property prior to the acquisition shall pass to Lender to the extent of sums secured by this
Security Instrument immediately prior to the acquisition.

3. Preservation and Maintenance of Property; Leaseholds. Borrower shall not destroy, damage
or substantially change the Property, allow the Property to deteriorate or commit waste. If this
Security Instrument is on a leasehoid, Borrower shail comply with the provisions of the lease, and if
Borrower acquires fee title to the Property, the leasehold and fee title shall not merge unless Lender
agrees to the merger in writing.
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4. Protection of Lender's Rights in the Property; Mortgage Insurance. If Borrower fails to
perform the covenants and agreements contained in this Security Instrument, or there is a legal
proceeding that may significantly affect Lender's rights in the Property (such as a proceeding in
bankruptcy, probate, for condemnation or to enforce laws or regulations), then Lender may do and
pay for whatever is necessary to protect the value of the Property and Lender's rights in the Property.
Lender's actions may include paying any sums secured by a lien which has priority over this Security
Instrument, appearing in court, paying reasonable attorneys’ fees, and entering on the Property to
make repairs. Although Lender may take action under this paragraph 4, Lender does not have to do
so.

5. Successor and Assigns Bound; Joint and Several Liability; Co-signers. The covenants and
agreements of this Security Interest shall bind and benefit the successors and assigns of Lender and
Borrower, subject to the provisions of paragraph 9. Borrower's covenants and agreements shall be
joint and several. Any Borrower who co-signs this Security Instrument but does not execute the Note:
(a) is co-signing this Security Instrument only to mortgage, grant and convey the Borrower's interest
in the Property under the terms of this Security Instrument; (b) is not personally obligated to pay the
sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower may
agree to extend, modify, forebear or make any accommodations with regard to the terms of this
Security Instrument or the Note without the Borrower's consent.

6. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by
delivering it or by mailing it by first class mail unless applicable law requires use of another method.
The notice shail be directed to the Property Address or any other address Borrower designates by
notice to Lender. Any notice to Lender shall be given by first class mail to Lender's address stated
herein or any other address Lender designates by notice to Borrower. Any notice provided for in this
Security Instrument shall be deemed to have been given to Borrower or Lender when given as
provided in this paragraph.

7. Governing Law; Severability. This Security Instrument shall be governed by federal law and
the law of jurisdiction in which the Property is located. In the event that any provision or clause of this
Security Instrument or Note conflicts with applicable law, such conflict shail not affect other provisions
of this Security Instrument or the Note which can be given effect without the conflicting provision. To
this end the provisions of this Security Instrument and the Note are declared to be severable.

8. Borrower's Copy. Borrower shali be given one conformed copy of the Note and of this
Security Instrument.

9. Transfer of the Property or a beneficial Interest in Borrower. If all or any part of the Property
or any interest in it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred
and Borrower is not a natural person) without Lender's prior written consent, Lender may, at its
option, require immediate payment in full of all sums secured by this Security Instrument. However,

this option shail not be exercised by Lender if exercise is prohibited by federal law as of the date of
this Security instrument.

if Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shalt provide a period of not less than 30 days from the date the notice is delivered or mailed within
which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

10. Release. Upon payment of all sums secured by this Security Instrument, Lender shall
release this Security Instrument without charge to Borrower. Borrower shall pay any recordation
costs.

11. Assignment of Rents and Leases. As additional security for the payment of the
Indebtedness, Mortgagor assigns and transfers to Mortgagee, pursuant to 1953 PA 210, as amended
by 1966 PA 151 (MCLA 554.231 et seq., MSA 26.1137(1) et seq.), all the rents, profits, and income
under all leases, occupancy agreements, or arrangements upon or affecting the Premises (including
any extensions or amendments) now in existence or coming into existence during the period this
Mortgage is in effect. This assignment shall run with the land and be good and valid as against
Mortgagor and those claiming under or through Mortgagor. This assignment shall continue to be
operative during foreclosure or any other proceedings to enforce this Mortgage. If a foreclosure sale
results in a deficiency, this assignment shall stand as security during the redemption period for the
payment of the deficiency. This assignment is given only as collateral security and shall not be
construed as abligating Mortgagee to perform any of the covenants or undertakings required to be
performed by Mortgagor in any leases.In the event of default in any of the terms or covenants of this
Mortgage, Mortgagee shall be entitled to ail of the rights and benefits of MCLA 554.231-.233, MSA
26.1137(1)-(3), and 1966 PA 151, and Mortgagee shall be entitled to collect the rents and income
from the Premises, to rent or lease the Premises on the terms that it may deem best, and to maintain
proceedings to recover rents or possession of the Premises from any tenant or trespasser.Mortgagee
shail be entitled to enter the Premises for the purpose of delivering notices or other communications
to the tenants and occupants. Mortgagee shall have no liability to Mortgagor as a result of those acts.
Mortgagee may deliver all of the notices and communications by ordinary first-class U.S. mail. if
Mortgagor obstructs Mortgagee in its efforts to collect the rents and income from the Premises or
unreasonably refuses or neglects to assist Mortgagee in collecting the rent and income, Mortgagee
shall be entitled to appoint a receiver for the Premises and the income, rents, and profits, with powers
that the court making the appointment may confer. Mortgagor shall at no time collect advance rent in
excess of one month under any lease pertaining to the Premises, and Mortgagee shall not be bound
by any rent prepayment made or received in violation of this paragraph. Mortgagee shall not have
any obligation to collect rent or to enforce any other obligations of any tenant or occupant of the
Premises to Mortgagor. No action taken by Mortgagee under this paragraph shali cause Mortgagee
to become a "mortgagee in possession.”

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
this Security Instrument and in any rider(s) executed by Borrower and recorded with i.

Signed, sealed and delivered in the presence of:

BORROWER: EquityBuild, Inc.

Le tA (SEAL)

deryepren. President

[Space Below This Line For Acknowledgement]

 

 
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STATE OF FLORIDA, fY lamitee. County ss:

| hereby certify that on this day, before me, an officer duly authorized in the state aforesaid
and in the county aforesaid to take acknowledgements, personally appeared Jerry Cohen, to me
known to be the person described in and who executed the foregoing instrument and acknowledged
that he/she executed the same for the purpose therein expressed.

_ WITNESS my hand and official seal in the county and state aforesaid this Xa day of
n eal uy ,2015 .

 

My Commission expires: JESSICA ANN BAIER

MY COMMISSION #FFO19714
{Seal} EXPIRES July 26, 2017

Liosste. ot aun Pr 807) 986.0159 FlordaNotaryServoe.com
“Notary Public

 

 

 

 

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Exhibit A

Lender Name Principal Amount Percentage of Loan
Towpath Investments LLC $50,000 2.22%
Michael Borgia $669,327 29.75%
Reynald Lalonde and Chantal Lemaire $50,000 2.22%
Initium LLC, managed by Harry Saint-Preux $50,000 2.22%
Steven J. Talyai $150,000 6.67%
Shaw Family Trust $55,000 2.44%
PNW Investments, LLC $50,000 2.22%
John Sullivan $50,000 2.22%
Arthur L and Dinah F Bertrand $400,000 444%
Kirk Road Investments LLC $63,000 2.80%
Equity Trust Company Custodian FBO Sidney Haggins IRA $50,000 2.22%
Quest IRA, Inc. FBO Steven K. Chennappan IRA $10,000 0.44%
Edge investments, LLC $17,374 0.77%
Property Solutions, LLC $60,000 2.67%
EquityBuild, inc. $825,299 36.68%

 

 

 

 

 

 
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Lots 13 and 14 (except the South 6 inches thereof) in Christopher Columbus Addition to
Jackson Park, being a subdivision of the East 1/2 of the Northwest 1/4 of Section 25,
Township 38 North, Range 14, East of the Third Principal Meridian, in Cook County,
IHinois

 

 
